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                                                                              FILED IN THE
                                                                          U.S. DISTRICT COURT
                                                                    EASTERN DISTRICT OF WASHINGTON
1
                                                                     Jun 16, 2022
2                                                                        SEAN F. MCAVOY, CLERK



3                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
4

5                          STANDING DISCLOSURE ORDER
                               IN ALL CRIMINAL CASES
6
             BEFORE THE HONORABLE SALVADOR MENDOZA, JR.
7

8          Under federal law, including Rule 5(f) of the Federal Rules of Criminal

9    Procedure, Brady v. Maryland, 373 U.S. 83 (1963), and all applicable decisions

10   from the Supreme Court and the Ninth Circuit interpreting Brady, the Government

11   has a continuing obligation to produce all information or evidence known to the

12   Government relating to guilt or punishment that might reasonably be considered

13   favorable to the defendant’s case, even if the evidence is not admissible so long as

14   it is reasonably likely to lead to admissible evidence. See United States v. Price,

15   566 F.3d 900, 913 n.14 (9th Cir. 2009). Consistent with that mandate, the

16   Government may not withhold Brady information because it questions the

17   materiality of such information. United States v. Bundy, 968 F.3d 1019, 1033 (9th

18   Cir. 2020). Accordingly, the court orders the Government to produce to the

19   defendant in a timely manner all such information or evidence. Delayed disclosures

20   will be carefully scrutinized by the Court.



     STANDING DISCLOSURE ORDER – 1
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1           Information or evidence may be favorable to a defendant’s case if it either

2    may help bolster the defendant’s case or impeach a prosecutor’s witness or other

3    Government evidence. If doubt exists, it should be resolved in favor of the

4    defendant with full disclosure being made. This information includes, but is not

5    limited to:1

6        1) information that is inconsistent with or tends to negate the defendant’s guilt

7           as to any element, including identification, of the offense(s) with which the

8           defendant is charged;

9        2) information that tends to mitigate the charged offense(s) or reduce the

10          potential penalty or sentencing guideline range;

11       3) information that tends to establish an articulated and legally cognizable

12          defense theory or recognized affirmative defense to the offense(s) with which

13          the defendant is charged;

14       4) information that casts doubt on the credibility or accuracy of any evidence,

15          including witness testimony, that the Government may use at trial;

16       5) impeachment information, which includes, but is not limited to—

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19   1
       At several points throughout this section, the Court references witnesses or
     evidence that the Government “may use at trial.” The Court nevertheless cautions
20   that information surrounding other witnesses or evidence may be subject to
     disclosure under Brady and its progeny.


     STANDING DISCLOSURE ORDER – 2
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1            a. information regarding whether any promise, reward, or inducement

2               has been given or discussed, or may be given later by the Government

3               to any witness;

4            b. information that identifies all pending criminal cases against, and all

5               criminal convictions of, any witness the Government may use at trial;

6            c. any inconsistent statement known to the Government or its agents, or

7               a description of such a statement, made orally or in writing by any

8               witness, regarding the alleged criminal conduct of the defendant;

9            d. information reflecting bias or prejudice against the defendant by any

10              witness the Government may use at trial;

11           e. a written description of any conduct that may be admissible under Fed.

12              R. Evid. 608(b) known by the Government to have been committed by

13              a witness; and

14           f. information known to the Government of any mental or physical

15              impairment of any witness the Government may use at trial that may

16              cast doubt on the ability of that witness to testify accurately or

17              truthfully at trial as to any relevant event.

18     6) and, by no later than the close of the defendant’s case, the Government shall

19        disclose any exculpatory information relevant to rebuttal.

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     STANDING DISCLOSURE ORDER – 3
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1          All disclosed information shall be produced in a reasonably usable form

2    unless that is impracticable; in such a circumstance, it shall be made available to the

3    defense for inspection and copying. Furthermore, the information shall not be

4    intentionally, knowingly, or recklessly located so as to avoid notice.

5          If the Government believes that a required disclosure would compromise

6    witness safety, victim rights, national security, a sensitive law-enforcement

7    technique, or any other substantial Government interest, the Government may apply

8    to the Court for a modification of the requirements of this Disclosure Order, which

9    may include in camera review and/or withholding or subjecting to a protective order

10   all or part of the information. In addition, if the Government questions whether

11   certain information is subject to disclosure, the Government may seek in camera

12   review of the information.

13         This Standing Disclosure Order is entered under Rule 5(f) and does not

14   relieve any party in this matter of any other discovery obligation. The consequences

15   for violating either this Disclosure Order or the Government’s obligations under

16   Brady include, but are not limited to, the following: contempt, sanction, referral to

17   a disciplinary authority, adverse jury instruction, exclusion of evidence, and

18   dismissal of charges. See Fed. R. Crim. P. 16(d)(2). Nothing in this Disclosure

19   Order enlarges or diminishes the Government’s obligation to disclose information

20   and evidence to a defendant under Brady, as interpreted and applied under Supreme




     STANDING DISCLOSURE ORDER – 4
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1    Court and Ninth Circuit precedent. As the Supreme Court noted, “the government

2    violates the Constitution’s Due Process Clause ‘if it withholds evidence that is

3    favorable to the defense and material to the defendant’s guilt or punishment.’”

4    Turner v. United States, 137 S. Ct. 1885, 1888 (2017), quoting Smith v. Cain, 565

5    U.S. 73, 75 (2012).

6          IT IS SO ORDERED. The Clerk’s Office is directed to enter this Order and

7    provide copies to all counsel.

8          DATED this 15th day
                             y of March 2022.

9
                           _________________________
                             ___________________     ____
10                         SALVADOR      MENDOZA,
                            ALVADOR MENDOZA         A JR.
                                                        JR
                           United States District Judge
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     STANDING DISCLOSURE ORDER – 5
